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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

ROBERT VANDERPLOEG,                               §
  Plaintiff,                                      §
                                                  §
vs.                                               §               Civil Action No. 4:20-CV-03721
                                                  §
TRIANGULAR REALTY IV, LLC,                        §
  Defendant                                       §


                                  NOTICE OF SETTLEMENT


        The parties respectfully notify the Court that the parties have agreed in principle to settle

the above-captioned matter. Counsel for the parties are in the process of preparing and finalizing

the Settlement Agreement and Stipulated Dismissal (“Agreement”). The parties intend to file the

Agreement as soon as practicable, but respectfully request that the parties are given 30 days to file

the said Agreement. Accordingly, Defendant respectfully requests that the Court vacate all

deadlines in this matter.

        Defendant is filing this Notice and Motion with Plaintiff’s approval and permission.

        DATED: April 6, 2021.

                                              Respectfully submitted,

                                              MURRAY | LOBB, PLLC

                                              By: /s/ Kyle Dickson
                                                 Kyle L. Dickson
                                                 Attorney-in-Charge
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                                           ATTORNEYS FOR DEFENDANT
                                           TRIANGULAR REALTY IV, LLC

                                           AND

                                           THE SCHAPIRO LAW GROUP, P.L

                                           By: /s/ Douglas S. Schapiro
                                              Douglas S. Schapiro, Esq.        *by permission
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                                              Email: schapiro@schapirolawgroup.com

                                           ATTORNEYS FOR PLAINTIFF
                                           ROBERT VANDERPLOEG



                               CERTIFICATE OF SERVICE

        I hereby certify that on April 6, 2021, I electronically filed and served the foregoing
document with the Clerk of the Court using the CM/ECF system, which will provide a notice of
electronic filing to all counsel of record.

                                                    /s/ Kyle Dickson
                                                    Kyle L. Dickson

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